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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

BROWNSVILLE I)IVISION

RAUL CHAPA AND ELOISA CHAPA, §
Plaintiffs §
§

v. § Civil Action No.
§
STATE FARM LLOYDS, §
Defendant §

 

DEFENDANT’S NOTICE OF REMOVAL

 

TO 'I`HE HONORABLE UNITED STATES DISTRICT JUDGE:

Defendant State F arm Lloyds files this Notice of Removal pursuant to 28 U.S.C.
§1446(a) and respectfully shows the following:

Procedural Background

l. On January 28, 2015, Plaintiffs Raul and Eloisa Chapa (“Plaintiffs”) filed their
Original Petition (“Original Petition”) styled Cause No. 2015-CV-0034-A; Raul Chapa and
Eloisa Chapa v. State Farm Lloyds,' In the 197th Judicial District Court of Willacy County,
Texas. State Farm Was served With citation on February 10, 2015. On March 6, 2015, Defendant
State Farm Lloyds filed an answer in state court.

Nature of the Suit

2. This lawsuit involves a dispute over State Farrn’s handling of Plaintifl`s’ insurance

claims for damages from foundation shifting or settling due to a Water leak allegedly Sustained

by their residential property: 13132 Chapa Road, Lasara, Texas.

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Basl's for Removal

3. Removal is proper under 28 U.S.C. §1332 because there is complete diversity of
citizenship between the parties and the amount in controversy exceeds $75,000.00, exclusive of
interest and costs.

4. There is complete diversity of citizenship between the proper parties At the time
Plaintiffs filed their Original Petition on January 28, 2015 and as of the date of filing this Notice,
State Farm was and is an unincorporated insurance association whose underwriters were and are
all citizens of states other than Texas. Accordingly, at the time Plaintiffs initially filed this suit,
and through the filing of this Notice, Defendant State Farm Lloyds is not a citizen of the State of
Texas for diversity jurisdiction purposes1

5. Upon information and belief, Plaintiffs were citizens of Texas when they filed
their Petition and continue to be citizens of Texas.

6. Pursuant to 28 USC § 1332(a), “the district courts shall have original jurisdiction
of all civil actions Where the matter in controversy exceeds the sum or value of $75,000,
exclusive of interest and costs. . .” Plaintiffs specifically identify in their Petition that they seek
at least $85,000 in damages Plaintiffs state in their Original Petition section VII, that “Plaintiffs
have sustained property damages in excess of $25,000.00,” and further, in section VHI, that
“Plaintiffs are entitled to recover from Defendant the sum of not less than 325,000.00 to
compensate them for their reasonable attorney’s fees incurred... in the event of appeal to the

Court cf Appeals, Plaintiffs would further be entitled to recover $15,000.00...as a reasonable

attorney’s fees; in the event of a Petition for Review to the Texas Supreme Court, Plaintiffs

 

1See Royal lns. Co. ofArnerica v. Quinn-L Capita[ Corp., 3 F.3d 877, 882 (5111 Cir. 1993), cert. deniea', 114 S. Ct.
1541 (1994) (defining “Lloyds’ Plan” insurer). See, e.g. Garza v. State Farm Lloyds, 2013 WL 3439851, at *2 (S.D.
Tex. July 8, 2013) (“'l`herefore, the Court finds that State Farm has sufficiently demonstrated by a preponderance of

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would be entitled to recover $'7,500.00. . .as reasonable attomey’s fees; and in the event the Texas
Supreme Court grants discretionary review, Plaintiffs would be entitled to recover
$12,500.00. . .as reasonable attorney’s fees.” See Plaintiffs’ Original Petition, attached as Exhibit
A.

7. In determining the amount in controversy, the court may consider “policy limits
and potential attorney’s fees...”2 Further, Plaintiffs’ claim that their property, insured through
State Fann, sustained covered damagesl Plaintiffs allege that State Farm breached the insurance
contract when it denied Plaintiffs’ claim.3 Plaintiffs seek damages for breach of contract under
their insurance contract identified as Policy Number 83-C4-3729-0 with coverage limits of
$206,645.00 for the dwelling, foundation endorsement of $3 0,907.00, limits of $154,534.00 for
contents, and coverage for the actual amount of additional living expenses

8. Plaintiff` has pled damages in excess of $75,000.00, the minimum arnoth of
damages required for removal. Plaintiff`s seek actual damages, special damages, and attorney fees
for their claim of breach of contract4 Thus, given the Policy involved in Plaintiffs’ claim, the
nature of Plaintiffs’ claim, and the types of damages sought, it is more likely than not that the

amount in controversy exceeds the federal jurisdictional minimum of $75,000.00.

 

the evidence that its underwriters are not citizens of Texas. This means State Farm and the Plaintiffs are completely

diverse.”)

2 St. Paul Rez'nsurance Co., Ltd v. Greenberg, 134 F.3d 1250, 1253 (Sth Cir. 1998); see Ray v. Liberly Lloyds, 1999
WL 151667 (N.D. Tex. Mar. 10, 1999) at *2-3 (finding a sufficient amount in controversy in Plaintiffs’ case against
their insurance company for breach of contract, naud, negligence, gross negligence, bad faith, violations of the
'I`exas Insurance Code, violations of the Texas Deceptive Trade Practices Act, and mental anguish); Fairmont
Travel, Inc. v. George S. May Int’l Co., et. al., 75 F. Supp. 2d 666, 668 (S.D. Tex. 1999) (considering DTPA claims
and the potential for recovery of punitive damages for the amount in controversy determination); Chz`ttick v. Farmers
Insurance Exchange, 844 F. Supp. 1153, 1155 (S.D. Tex. 1994) (finding a sufficient amount in controversy after
considering the nature of the claims, the types of damages sought and the presumed net worth of the defendant in a
claim brought by the insureds against their insurance company for actual and punitive damages arising nom a claim
they made for roof damages).

3 Plaintiff’s Original Petition.

4 See Plaintiff’ s Original Petition, ‘[[ VIII~ IX.

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The Removal is Procedurally Correct

9. State Farm was first served with the Original Petition on February 10, 2015.
Theref`ore, State Farm filed this Notice of Removal within the 30~day time period required by 28
U.S.C. §l446(b).

10, Venue is proper in this district under 28 U.S.C. §1446(a) because this district and
division embrace the place in Which the removed action has been pending and because a
substantial part of the events giving rise to Plaintiff`s’ claims allegedly occurred in this district

11. Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filings
in the state court action are attached to this Notice as Exhibit A.

12. Pursuant to 28 U.S.C. §l446(d), promptly after State Farm files this Notice,
Written notice of the filing of this Notice of Removal will be given to Plaintiffs, the adverse
party-

13. Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice will be
iiled with the District Clerk of Willacy County, Texas, promptly after State Farm files this
Notice.

WHEREFORE,_ STATE FARM LLOYDS requests that this action be removed from the
197th Judicial District Court of Willacy County, Texas to the United States District Court for the
Southern District of Texas, Brownsville Division, and that this Court enters such further orders

as may be necessary and appropriate

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Respectfully submitted,

thwart new

DavidR. Stephens
Attorney in Charge

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State Bar No. 19146100

Southern District No. 21360
LINDOW STEPI-IENS TREAT LLP
One Mverwall< Place

700 N. St, Mary’s St., Suite 1700
San Antonio, Texas 78205
Telephone: (210) 227~2200
Telecopier: (210) 227-4602

dstephens@lstlaw.com

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing Notice of Removal was
filed electronically with the United States District Court for the Southern District of Texas,
Brownsville Division, with notice of case activity to be generated and sent electronically b the
Clerk of the Court with ECF notice being sent and a copy mailed via certified mail on this 9t day
of March, 2015, addressed to those who do not receive notice from the Clerk of the Court.

Jose R. Guerrero

State Bar No. 08581427

GUERRERO LAW FIRM

1001 s. 10th street

Tiffany Plaza

Executive Business Center 1, Suite 221
McAllen, Texas 785 01

Telephone: (956) 457-0444

Facsimile: (866) 459~6571

]`rguerrero@thejrglawfirm.com

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EXHIBIT A

 

 

 

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Plamvffs are represented by Jo'sé R` Guerrero whose address is 1001 3100 Street Tlffany 15|a'z"a, ii .
ExecutiveBusmess Centert Suite 221, McAl!eh,TX 78501.

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RA.UL CHAPA AND ELOISA CHAPA § IN THE DISTRICT COURT
VS. § WILLACY COUNTY, TE`XAS
STATE FARM LLOYDS § 197'th .TUDICIAL DISTRICT

 

PLA]N T§FFS’ ORIGINAL PETITION

 

TO ’I`HE HONORABLE JU])GE OF SAID {IOURT:

COME NOW RAUL CHAPA AND ELOISA CHAPA, Plahttitt`s in the
above-numbered and entitled cause and complain of Defendant STATE FARM LLOYDS
(hcreinafter "Defendant State Farm") and- for cause of action respectfully show the following

I. 1

This is a discovery level H case.

lI.

Plaintiffs are residents of Willacy County, Texa.s. The Plaintit`fs’ property that Was
damaged 13 located m Willacy County ,'I`exas and the incident causing the damage to Plaintii`fs’
property made the basis of this cause of action occurred in Willacy County, Texas. Therefore,
venue cf this lawsuit properly fixed in Wil§acy County, Texas under authority ofTex. CiV. Prac. &
Rem. C § 15.002(1}.

[II.

Defendant is an entity licensed by the Texas Department of Insurance as a lloyds company

authorized to sell property and casualty insurance in Texas, Defendant may be served with process

in this case by serving its registered Attomey for Service via certified mail; return receipt

 

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requested at the following address:
Rendi Black
cfc State Farm
17301 Preston Road
Dallas TX 75252~$’727
IV.

From on or about sometime in 2011 to the present, the Plaintiffs have noticed that theix
dwelling located at 13132 Chapa Road, Lasara, Texas, has been showing signs ofprogressive
damage in the ibm of cracks in the interior drywall sheathing, buckling floors, jamming Windcws,
and jamming interior doors. The Plaintiffs allege that the damage was the result of the home’s
foundation shifting or settling due to a water leak from the dwelling’s plumbing system Thc
amount of damage sustained by Plaintiffs on the occasion in question is in excess of the
jmisdlc:tional limits ofthis court `

V.

Prior to the occurrence set forth in paragraph IV, above, and made the basis ofthis lawsuit
Plaintiffs had purchased from the Defendant a property insurance policy to protect them from
damage loss to their dwelling of the type and nature that it sustained on the occasion in question
{hereinaf¥er the “Insurance Policy”). In return for payment of valuable consideration that was
dutifully paid by P!aintiil“s to Defendant, Defendant became contractually obligated under the
Insurance Policy to pay Plainti'ffs for any covered loss they might sustain to their dwelling during
Insurance Policy’s coverage period At all times material to this action, the Insuranoe Policy was in
full force and effect

VI.

On or about February 13, 2013,Pla1ntiH's submtted a clalm to Defendant for coverage

 

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under the Insurance Polioy for the damage sustained by their dwelling structure on the occasion in
question Despite the fact that the damage sustained by Plaintir`f’s dwelling structure Was a covered
loss under the lnsurance Policy, on or about May 10, 2013, the Defendant denied the Plaintifi`s’
olaim, in miting, as not being a covered loss under the Insu.rance Policy. By failing to pay the
Plaintiffs’ claim, as it was obligated to do under the Insurance Policy, the Defendant has breached
its agreement with the Plaintift`s.

VII.

'Ilie Piaintiffs will show that as a result of De'l`endant breaching its insuring agreement With
them, Plaintift`s have sustained property damages in excess of 'l`wenty-Five Tbousand Doliars
($25,000). Plainti_.€fs will further show that they have fully complied With all the terms of the
insurance policy, as a condition precedent to bringing this suit. Nevertheless, the Defendant has
failed and refused, and stili fails and refuses to pay any benefits under the lnsurance Policy as
Defendant is contractually required to do.

VIII.

The Plaintiffs have been required to obtain the services of the undersigted legal counsel to
bring this suit in protection of their interests. Plaintiffs are, therefore entitled to recover from
Defendant the sum of not less than SZS,OOU.OO to compensate them for their reasonable attorney'S
fees incurred prosecuting this claim against the Defendant. In the event of an appeal to the Court
of Appeals, Plaintiffs would further be entitled to recover $15,000.0(_) from Defendanr, as a
reasonable attorney’s fees ; in the event of a Petition for Reviewto the Texas Supreme Court, Plaintiii`s
would be entitled to recover $?,500.00 from Defendant, as a reasonable attorney's fees; and in the

event the Texas Suprerue Court grants discretionary review, Piaintiff's would be entitled to recover

 

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$12,500.00 from Defendant, as reasonable attemey’s fees.
Dt.
Piainti&`s hereby tender their jury fee and demand a trial by jury on all issues so triable in
this cause.
`WHEREFORE, PREMISES CONSIDERED, Piajlltii’l`s praythat Defendant be cited to
appear and answcr, and that after trial on the merits of this suit, by judgment of this Court, the
nanan be granted rae renewng relies

All actual and special damages prayed for herein and awarded by the trier of faot;
Prejudgment interest at the inaximmn rate allowed by law;

Post~judgment interest at the maximum rate allowed by law, until judgment is pald.
Reasonable attorney’s fees, as allowed by law.

Costs oi" suit

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Suoh other and further relief at law or in equity, general or speeial, to which
Plaintiff may be justly entitled.

Respectfully submitted,

GUERRERO LAW HRM
1001 s. lo‘bseeet
'l`iffany Plaza _
Exeeutive Business §
MoAllen, Texas '?’ 8 "’
Phone: (956)457~0444
P`ax: (866}459-6571 ‘ `B= v
Email: ignuerrero@theirglawiirm com §§ '

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IOSE R. GUERRERC
State Bar No, 0858142'1‘
AT'I`ORNEY FOR PLAD~lTIFFS

   

By:

 

 

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